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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF MISSISSIPPI
                                  WESTERN DIVISION

LANDON EARL THOMAS                                                                      PLAINTIFF

VERSUS                                                  CIVIL ACTION NO. 5:24-cv-5-DCB-ASH

PIKE COUNTY, MISSISSIPPI, et al.                                                    DEFENDANTS

                                              ORDER

       This matter is before the Court on pro se prisoner Plaintiff Landon Earl Thomas’s

Response [14] filed on March 24, 2025. Plaintiff failed to sign his Response [14] as required by

Federal Rule of Civil Procedure 11. He will be given an opportunity to correct this omission by

placing his original signature on page 2 (CM/ECF pagination) of the copy of his Response [14].

Accordingly, it is

      ORDERED:

      1.       That the Clerk of Court is directed mail to Plaintiff copy of his Response [14]

filed on March 24, 2024, along with a copy of this Order.

       2.      That Plaintiff is directed to place his original signature on page 2 (CM/ECF

pagination) of the copy of his Response [14] and return pages 1 and 2 of the signed Response

[14] to this Court on or before May 12, 2025. Plaintiff is reminded that his pleadings or other

papers submitted to this Court for filing must have his original signature on them. Plaintiff’s

failure to return the signed copy of the Response [14] will result in the Court striking this

Response [14]. See Fed. R. Civ. P. 11(a).

       3.      That Plaintiff shall file his signed Response [14] with the Clerk, U. S. District

Court, 501 E. Court Street, Suite 2.500, Jackson, Mississippi 39201.




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        Plaintiff is warned that his failure to fully comply with any order of the Court in a timely

manner or failure to advise the Court of a change of address may result in the dismissal of this

case.

        SO ORDERED, this the 28th day of April, 2025.



                                              s/Andrew S. Harris
                                              UNITED STATES MAGISTRATE JUDGE




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